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                         EXHIBIT A
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            IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                    FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                              TRIAL DIVISION – CIVIL

SCUNGIO BORST & ASSOCIATES, LLC, :                        OCTOBER TERM, 2018
                                    :
                    Plaintiff,      :                     NO. M0013
                                    :
                v.                  :                     COMMERCE PROGRAM
                                    :
KPG-MCG CURTIS TENANT, LLC, et al., :                     Control No. 21043330
                                    :
                    Defendants, :

                                                 ORDER

        AND NOW, this 3rd day of November, 2021, upon consideration of the Motion for

Summary Judgment filed by KPG-MCG Curtis Tenant, LLC, Curtis Center TIC I LLC, and

Curtis Center TIC II LLC, the responses thereto, and all other matters of record, it is ORDERED

that said Motion is GRANTED in part1 and the Mechanics’ Lien filed by plaintiff against the



        1
           “The practice and procedure to obtain judgment upon a [Mechanic’s Lien] shall be governed by
the Rules of Civil Procedure promulgated by the Supreme Court[,]” which include summary judgment
procedures. 49 Pa. Stat. Ann. § 1701. “[W]here there is no genuine issue of material fact and the moving
party is entitled to relief as a matter of law, summary judgment may be entered. Where the non-moving
party bears the burden of proof on an issue, [it] may not merely rely on [its] pleadings or answers in order
to survive summary judgment. Failure of a non-moving party to adduce sufficient evidence on an issue
essential to [its] case and on which it bears the burden of proof establishes the entitlement of the moving
party to judgment as a matter of law.” Murphy v. Duquesne Univ. Of The Holy Ghost, 565 Pa. 571, 590,
777 A.2d 418, 429 (2001). See also Pa. R. Civ. P. 1035.2. Plaintiff bears the burden of proving the
amounts due to it from defendants, which allegedly form the basis for its Mechanic’s Lien. However, in
response to the Motion, plaintiff proffered no evidence that $7,444,073.05, the amount it claims in its
Mechanic’s Lien, is due. Instead, plaintiff relied solely on the allegations of its pleadings and blanket
denials of the facts stated by defendants in their Motion.
        The only amounts that are discussed by, and apparently still disputed between, the parties are
those demanded in plaintiff’s last three Progress Payment Applications and its Final Payment
Application, all of which were apparently not paid. Under the terms of the parties’ contract, only two of
these applications could have constituted “debts due” to plaintiff by defendants at the time plaintiff filed
the Mechanic’s Lien; the latter two were delivered to defendants, and came due, later if at all. See Pa.
Stat. Ann. § 1301 (“every improvement and the estate or title of the owner in the property shall be subject
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Property known as 601Walnut Street, Philadelphia, PA, BRT/OPA 52791145 is REDUCED in

amount to Two Hundred and Twenty-Four Thousand, Two Hundred and One Dollars, and Forty-

Eight Cents ($224,201.48).




to a lien, to be perfected as herein provided, for the payment of all debts due by the owner to the
contractor.”) (emphasis added).
        The amounts claimed in the two Applications submitted before the Mechanic’s Lien was filed
total $224,201.48. Since the debts evidenced by the last two Applications were not yet due at the time the
Mechanics’ Lien was filed, they cannot serve as a basis for the Mechanic’s Lien. Since plaintiff has not
proffered evidence of any other debts still due to it from defendants, the Mechanic’s Lien must be reduced
to the amount of the two earlier Applications. However, plaintiff’s contract claim to collect all such
amounts alleged due, which is asserted in a separate action, may still proceed.

                                                     2
